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                       UNITED STATES COURT OF APPEALS                        FILED
                              FOR THE NINTH CIRCUIT                           MAY 14 2018
                                                                         MOLLY C. DWYER, CLERK
                                                                           U.S. COURT OF APPEALS
UNITED STATES OF AMERICA,                          No. 18-50142

                   Plaintiff-Appellee,             D.C. No. 3:18-mj-02070-RBB
                                                   Southern District of California,
  v.                                               San Diego

MORENA ELIZABETH MENDOZA-                          ORDER
ROMALDO,

                   Defendant-Appellant.



         Appellant’s motion for voluntary dismissal of this appeal (Docket Entry No.
5) is granted. This appeal is dismissed. See Fed. R. App. P. 42(b); 9th Cir. R.
27-9.1.
         This order served on the district court shall act as and for the mandate of this
court.

                                                    FOR THE COURT:

                                                    MOLLY C. DWYER
                                                    CLERK OF COURT


                                                    By: David J. Vignol
                                                    Deputy Clerk
                                                    Ninth Circuit Rule 27-7




DV/AppComm Direct Criminal
